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                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:    Jaroslaw Mielewczyk
                         Debtor
                                                      CASE NO.: 23-11838-amc
           SN Servicing Corporation as servicer
           for U.S. Bank Trust National               CHAPTER 13
           Association, as Trustee of LB-Cabana
           Series IV Trust                            Judge: Ashely M. Chan
           v.

           Jaroslaw Mielewczyk-Debtor
           Kamila I. Mielewczyk- Co-debtor
           Kenneth E. West-Trustee

                          Respondents

  CERTIFICATION OF DEFAULT OF MOTION FOR RELIEF FROM AUTOMATIC
                     STAY AND CO-DEBTOR STAY

       FRIEDMAN VARTOLO, LLP, attorneys for Movant, hereby certifies that the above-

captioned Debtors have failed to comply with the terms of the Stipulation approved by the U.S.

Bankruptcy Judge Ashely M. Chan on January 2, 2025. A copy of the Stipulation is attached hereto as

Exhibit “A”. Movant certifies that the required Notice of Default required by the Order was sent

to Debtors and Debtors’ attorney on May 12, 2025, and Debtor has failed to cure the default. A

copy of the Notice of Default is attached hereto as Exhibit “B”. In accordance with the terms of

said Stipulation agreed to by the parties, the Automatic Stay is hereby lifted as to permit Movant

to proceed with their State Court remedies upon Debtors’ property.
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Dated: May 28, 2025                    By: /s/ Lauren Moyer
                                       Lauren Moyer, Esq.
                                       FRIEDMAN VARTOLO LLP
                                       Attorneys for SN Servicing Corporation as servicer
                                       for U.S. Bank Trust National Association, as
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